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                        IN THE UNTED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
AMANDA DEGNAN                          :
914 East Prospect Ave.                 :
North Wales, PA 19454                  :    CIVIL ACTION
                                       :
               Plaintiff,              :    No.:___________________________
                                       :
       v.                              :
                                       :
INTERNATIONAL BUSINESS                 :
MACHINES CORPORATION d/b/a IBM :
1601 Cherry Street                     :    JURY TRIAL DEMANDED
Philadelphia, PA 19012                 :
                                       :
               Defendant.              :
____________________________________:

                                      CIVIL ACTION COMPLAINT

        Amanda Degnan (hereinafter referred to as “Plaintiff,” unless indicated otherwise) by and

through her undersigned counsel, hereby avers as follows:

                                              INTRODUCTION

        1.       Plaintiff has initiated this action to redress violations by International Business

Machines Corporation d/b/a IBM (hereinafter “Defendant”) of Title VII of the Civil Rights Act

of 1964 (“Title VII” – 42 U.S.C. §§ 200d et seq.)/the Pregnancy Discrimination Act (“PDA”), the

Family and Medical Leave Act (“FMLA”- 29 USC § 2601), the Pennsylvania Human Relations

Act (“PHRA”), and the Philadelphia Fair Practices Ordinance (“PFPO”).1                                As a direct

consequence of Defendant’s unlawful actions, Plaintiff seeks damages as set forth herein.



1
 Plaintiff’s claims under the PHRA and PFPO are referenced herein for notice purposes. She is required to wait 1 full
year before initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file her lawsuit in
advance of same because of the date of issuance of her federal right-to-sue-letter under Title VII/Pregnancy
Discrimination Act. Plaintiff’s PHRA and PFPO claims however will mirror identically her federal claims under Title
VII/Pregnancy Discrimination Act.
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                                   JURISDICTION AND VENUE

        2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks

redress for violations of federal laws.

        3.       This Court may properly assert personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.

310 (1945), and its progeny.

        4.       Pursuant to 28 U.S.C. § 1392(b)(1) and (b)(2), venue is properly laid in this district

because Defendant is deemed to reside where it is subjected to personal jurisdiction, rendering

Defendant a resident of the Eastern District of Pennsylvania.

        5.       Plaintiff is proceeding herein under Title VII/PDA after properly exhausting all

administrative remedies with respect to such claims by timely filing a Charge of Discrimination

with the Equal Employment Opportunity Commission (“EEOC”) and by filing the instant lawsuit

within ninety (90) days of receiving a notice of dismissal and/or right to sue letter from the EEOC.

                                               PARTIES

        6.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.       Plaintiff is an adult individual, with an address set forth in the caption.

        8.       International Business Machines Corporation d/b/a IBM is a corporation offering

application, technology consulting and support, process design and operations, cloud, digital




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workplace, and network services, as well as business resiliency, strategy, and design solutions,

with a facility at the location set forth in the above-caption.

        9.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for the Defendant.

                                    FACTUAL BACKGROUND

        10.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        11.      Plaintiff is a female individual.

        12.      Plaintiff was employed with Defendant for approximately four years until her

unlawful termination (as discussed infra) on or about August 6, 2019.

        13.      During the course of her employment with Defendant, Plaintiff was a hard-working

employee who performed her job well.

        14.      At the time of Plaintiff’s termination, she was primarily supervised by North

American Client Success Leader, Andrew Doyle (male, hereinafter “Doyle”).

        15.      On or about March 18, 2019, Plaintiff commenced approved maternity leave for

the birth of her child. Plaintiff remained out on maternity leave for approximately 5 months (a

portion of which was covered under the FMLA) and returned to work on or about August 5, 2019.

        16.      On or about August 6, 2019, Plaintiff was asked to report to Doyle’s office wherein

she was informed that she was being “laid off” as part of a reduction in force.

        17.      Plaintiff was completely blindsided by her termination because approximately two

(2) months prior to commencing maternity leave, she and another male employee (who had only

been employed with Defendant for approximately 2-2.5 years) were both transferred to the position



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of Client Extension Representative (hereinafter “CER”) within Defendant’s security division. In

addition to Plaintiff and her male co-worker who transferred with her, there were other CERs

within Defendant’s security division as well; however, upon Plaintiff’s information and belief, she

was the only CER laid off in her division.

       18.      Plaintiff was given multiple reasons by Defendant’s management as to why she was

selected for lay off. For example, but not intended to be an exhaustive list:

             a. At first, Doyle informed Plaintiff that she had been laid off because she was at

                “band level 6” and only employees at band level 6 were being laid off; and

             b. Plaintiff was then informed by Director, Digital Sales North American Software

                Solution, Julie Tourre (hereinafter “Tourre”) that band level had nothing to do with

                Defendant’s selection of employees for layoff and that it was based on performance

                results and location (as they were moving all employees to the Philadelphia

                location, and prior to maternity leave, Plaintiff had worked in the Blue Bell,

                Pennsylvania office). Tourre advised Plaintiff to look at it as a “blessing in

                disguise.”

       19.       Defendant’s purported reasons for Plaintiff’s termination (see Paragraph 18,

supra) are completely pretextual because (1) Plaintiff’s performance “results” would have been

skewed by the fact that she had been on maternity leave for approximately 5 months; (2) Plaintiff

and her male co-worker were both transferred to the same position at the same time; however, she

had been an employee of Defendant for 1.5-2 years longer but he was retained by Defendant; (3)

Plaintiff was never asked if she would have been willing to transfer to the Philadelphia office –

which she would have as she had previously worked in Philadelphia when she was first hired by

Defendant; (4) Plaintiff had previously discussed changing her band level with Tourre prior to



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taking maternity leave and was ignored (despite the fact that other males with less experience

and/or seniority were at higher band levels than herself); and (5) Plaintiff was given multiple

varying/inconsistent reasons for her lay off.2

        20.      In addition to being terminated unlawfully by Defendant because of her pregnancy

and/or request for/utilization of maternity leave, Plaintiff was treated disparately from her male

co-workers with regard to salary and band level designation (which impacted applying for any

sectors or promotions within Defendant), in addition to a multitude of other hurdles that male co-

workers were not subjected to.

        21.      Specifically, Plaintiff was not paid equally to her male counterparts, despite her

experience, skills, and seniority being similar, the same, or better.

        22.      Plaintiff discussed her unequal pay concerns with Tourre in advance of her

termination; however, Plaintiff’s concerns were never addressed.

        23.      Upon Plaintiff’s information and belief, after she was terminated, her work was

performed by a male employee.

        24.      Plaintiff believes and therefore avers that she was really terminated because of her

(1) her gender; (2) her pregnancy; (3) her request for/utilization of maternity leave/FMLA; and (4)

her expressed concerns of gender discrimination/unequal pay.




2
  See Zielinski v. Pennsylvania State Police, 108 F. App’x 700, 708 (3d Cir.2004) (vacating grant of summary
judgment where plaintiff was able to present evidence of inconsistent reasons given by management for her transfer);
Butler v. BTC Foods, Inc., 2014 U.S. Dist. LEXIS 11286, at *18 (E.D. Pa. 2014) (denying summary judgment where
employer’s termination documentation was inconsistent with and silent on the reason now asserted in the case for
plaintiff’s termination); Hudson v. Guardsmark, LLC, 2013 U.S. Dist. LEXIS 166825, at *47 (M.D. Pa. 2013)
(denying summary judgment based on management contradictions as to the reason for the plaintiff’s termination from
employment); Willauer v. Riley Sales, Inc., 2009 U.S. Dist. LEXIS 85004, at *9-10 (E.D. Pa. 2009) inconsistent
reasons for termination given by management including job elimination and performance-based reasons warranted
denial of summary judgment).

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                                            COUNT I
                                   Violations of Title VII/PDA
([1] Gender Discrimination; [2] Pregnancy Discrimination; [3] Unequal Pay; and [4] Retaliation)

           25.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

   full.

           26.    On or about March 18, 2019, Plaintiff commenced an approved 5-month maternity

   leave for the birth of her child (a portion of which was covered under the FMLA).

           27.   During Plaintiff’s employment with Defendant, she was also subjected to

   discrimination through disparate treatment and demeaning and/or derogatory treatment by

   Defendant because of her gender.

           28.   Plaintiff was treated disparately with respect to compensation, band level designation

   (which impacted applying for any sectors or promotions within Defendant), and termination

   contrary to her male sales co-workers.

           29.    On or about August 6, 2019, in close proximity to Plaintiff’s most recent complaints

   of gender discrimination and/or unequal pay and just one day after Plaintiff’s return from

   maternity leave, Plaintiff was abruptly terminated.

           30.    Upon information and belief, after Plaintiff was terminated, her work was

   performed by a male employee.

           31.    Plaintiff believes and therefore avers that she terminated from her employment with

   Defendant because of her (1) her gender; (2) her pregnancy; and (3) and/or her complaints of

   gender discrimination/unequal pay.

           32.    These actions as aforesaid constitute unlawful discrimination and retaliation under

   Title VII/PDA.




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                                          COUNT II
                 Violations of the Family and Medical Leave Act (“FMLA”)
                                 (Interference & Retaliation)

        33.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        34.    Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).

        35.    Plaintiff requested leave for her own medical reasons from Defendant, her

employer, with whom she had been employed for at least twelve months pursuant to the

requirements of 29 U.S.C.A. § 2611(2)(i).

        36.    Plaintiff had at least 1,250 hours of service with Defendant during her last full year

of employment prior to requesting FMLA leave.

        37.    Defendant engaged in interstate commerce and employ[ed] fifty (50) or more

employees for each working day during each of the twenty (20) or more calendar work weeks in

the current or proceeding calendar year, pursuant to 29 U.S.C.A. § 2611(4)(A)(i).

        38.    Plaintiff is entitled to receive leave pursuant to 29 U.S.C.A. § 2612(a)(1) for a total

of twelve (12) work weeks of leave on a block or intermittent basis.

        39.    Shortly after requesting and/or utilizing FMLA leave for her pregnancy, Plaintiff

was terminated from her employment with Defendant.

        40.    Defendant committed interference and retaliation violations of the FMLA by: (1)

terminating Plaintiff for requesting and/or exercising her FMLA rights; (2) by considering

Plaintiff’s FMLA leave needs in making the decision to terminate her; and/or (3) terminating

Plaintiff to intimidate her and/or prevent her from taking FMLA-qualifying leave in the future; (4)

by making negative comments and/or taking actions towards her that would dissuade a reasonable



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person from exercising her rights under the FMLA; and/or (5) by counting her FMLA-qualifying

leave against her in making the decision to terminate her (i.e., penalizing Plaintiff for alleged

performance concerns for the time period she was on federally-protected FMLA leave).

           41.    These actions as aforesaid constitute violations of the FMLA.

                                            COUNT III
        Violations of 29 U.S.C. § 206 and 29 U.S.C. § 215(a)(3) [the Equal Pay Act - “EPA”]
                                   (Discrimination & Retaliation)

           42.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

           43.    Plaintiff was not properly paid an equal salary or given comparable band level

designation (which impacted applying for any sectors or promotions within Defendant) to her male

counterparts despite the fact that, upon information and belief, Plaintiff’s experience, skills, and

seniority were the same, similar, or better than said male counterparts.

           44.    Plaintiff complained to Defendant’s owners/executive management that she

believed she was not being paid the same or similar salary and/or other employment benefits as

her male counterparts because of her gender.

           45.    Plaintiff’s aforesaid complaints under the Equal Pay Act were never properly

investigated or resolved by Defendant’s management.

           46.    Instead, Plaintiff was retaliated against and terminated for complaining of unequal

pay based upon her gender.

           47.    These actions as foresaid constitute violations of 29 U.S.C. § 206 and 29 U.S.C. §

215(a)(3).

           WHEREFORE, Plaintiff prays that this Court enter an Order providing that:




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       A.      Defendant is to promulgate and adhere to a policy prohibiting discrimination in the

future against any employee(s);

       B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s

illegal actions, including but not limited to back pay, front pay, salary, pay increases, bonuses,

insurance, benefits, training, promotions, reinstatement and seniority;

       C.      Plaintiff is to be awarded liquidated and/or punitive damages, as permitted by

applicable law, in an amount believed by the Court or trier of fact to be appropriate to punish

Defendant for its willful, deliberate, malicious and outrageous conduct and to deter Defendant or

other employers from engaging in such misconduct in the future;

       D.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper and appropriate (including but not limited to damages for emotional distress, pain, suffering

and humiliation; and

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

                                                     Respectfully submitted,

                                                     KARPF, KARPF & CERUTTI, P.C.

                                              By:    _____________________________
                                                     Ari R. Karpf, Esq.
                                                     3331 Street Rd.
                                                     Two Greenwood Square, Suite 128
                                                     Bensalem, PA 19020
                                                     (215) 639-0801
Dated: April 29, 2020




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                  QLOVLOMOM
                            Case 2:20-cv-02055-MAK
                                               UNITEDDocument   1 Filed
                                                      STATES DISTRICT    04/29/20 Page 11 of 12
                                                                      COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________

                       NSMN=`ÜÉêêó=píêÉÉíI=mÜáä~ÇÉäéÜá~I=m^=NVNMO
Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           QLOVLOMOM
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


           QLOVLOMOM
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:20-cv-02055-MAK Document 1 Filed 04/29/20 Page 12 of 12
JS 44 (Rev. 06/17)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
    abdk^kI=^j^ka^                                                                                          fkqbok^qflk^i=_rpfkbpp=j^`efkbp=`lomlo^qflk=
                                                                                                            ÇLÄL~=f_j
    (b) County of Residence of First Listed Plaintiff                  jçåíÖçãÉêó                             County of Residence of First Listed Defendant                 mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                    f
                                                                                                         (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                             of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                            FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                 ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product               Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument                  Liability               ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                       Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’             Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’    340 Marine                         Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                 Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle            ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle            ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability        ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                 Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                   ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -              Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights         Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                   ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒
                                     u    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                       Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                Accommodations           ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒    445 Amer. w/Disabilities -   ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                              Employment                 Other:                     ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                              Other                    ❒ 550 Civil Rights                 Actions
                                     ❒    448 Education                ❒ 555 Prison Condition
                                                                       ❒ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                            (specify)                      Transfer                         Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            qáíäÉ=sff=EQOrp`OMMMFX=cji^=EOVrp`OSMNF
VI. CAUSE OF ACTION Brief description of cause:
                                            sáçä~íáçåë=çÑ=íÜÉ=qáíäÉ=sffI=ma^I=cji^I=meo^=~åÇ=íÜÉ=mÜáä~ÇÉäéÜá~=c~áê=mê~ÅíáÅÉë=lêÇáå~åÅÉKK
VII. REQUESTED IN     ❒                          CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                            JUDGE                                                                   DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
            QLOVLOMOM
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                               MAG. JUDGE

                  Print                                 Save As...                                                                                                                   Reset
